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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                  Plaintiff,

       v.                                 CRIMINAL NO. 1:06CR68
                                               (Judge Keeley)


 JAMES M. SNYDER,

                  Defendant.


                    ORDER ADOPTING MAGISTRATE JUDGE'S
              RECOMMENDATION THAT DEFENDANT'S GUILTY PLEA
             BE ACCEPTED AND SCHEDULING SENTENCING HEARING

       On August 8, 2007, defendant, James M. Snyder, appeared before

 United States Magistrate Judge John S. Kaull and moved this Court

 for permission to enter a plea of GUILTY to Count One of the

 Superseding Indictment. The defendant stated that he understood

 that the magistrate judge is not a United States District Judge,

 and consented to pleading before the magistrate judge.           This Court

 had referred the guilty plea to the magistrate judge for the

 purposes of administering the allocution pursuant to Federal Rule

 of Criminal Procedure 11, making a finding as to whether the plea

 was knowingly and voluntarily entered, and recommending to this

 Court whether the plea should be accepted.

       Based upon the defendant's statements during the plea hearing

 and   the   testimony   of   Special   Agent   Robert   L.   Manchas,    the

 magistrate judge found that the defendant was competent to enter a

 plea, that the plea was freely and voluntarily given, that the

 defendant was aware of the nature of the charges against him and

 the consequences of his plea, and that a factual basis existed for
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 the tendered plea. On August 9, 2007, the magistrate judge entered

 a Report and Recommendation finding a factual basis for the plea

 and recommended that this Court accept the plea of guilty to Count

 One of the Superseding Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the report and recommendation within ten (10)

 days after service of the report and recommendation. The magistrate

 judge further directed that failure to file objections would result

 in a waiver of the right to appeal from a judgment of this Court

 based on the report and recommendation.

       The parties did not file any objections.          Accordingly, this

 Court finds that the magistrate judge's recommendation should be

 ADOPTED and ACCEPTS the plea of guilty to Count One of the

 Superseding Indictment.

       The Court ADJUGES the defendant GUILTY of the crime charged in

 Count One of the Superseding Indictment and, pursuant to Fed. R.

 Crim. P. 11(c)(3)(A) and U.S.S.G. § 6B1.1(c), DEFERS acceptance of

 the proposed plea agreement until the Court has received and

 reviewed the presentence report prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq., it is hereby ORDERED that:

       1.    The    Probation     Officer    undertake      a   presentence

 investigation of JAMES M. SNYDER and prepare a presentence report

 for the Court;

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        2.     The Government and the defendant are to provide their

 versions of the offense to the Probation Officer by September 5,

 2007;

        3.     The   presentence       report   is    to   be    disclosed      to   the

 defendant, defense counsel, and the United States on or before
 October 10, 2007; however, the Probation Officer is directed not to

 disclose      the       sentencing     recommendations         made     pursuant    to

 Fed. R. Crim. P. 32(b)(6)(A);

        4.     Counsel shall file WRITTEN OBJECTIONS to the presentence

 report      and   may    file   a    SENTENCING     MEMORANDUM        that   evaluates

 sentencing factors the parties believe to be relevant under 18

 U.S.C. § 3553(a) (including the sentencing range under the advisory

 Guidelines) and explains any proposed sentence, on or before
 October 24, 2007;

        5.     The Probation Officer shall submit to the Court the

 presentence report with addendum on or before November 7, 2007; and

        6.     Sentencing is scheduled for November 28, 2007 at 1:30

 p.m.

        7.     The Court remanded the defendant to the custody of the

 United States Marshals.

        It is so ORDERED.




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       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: August 22, 2007



                                    /s/ Irene M. Keeley
                                    IRENE M. KEELEY
                                    UNITED STATES DISTRICT JUDGE




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